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 9   Attorneys for Plaintiff and the Classes
10
                           UNITED STATES DISTRICT COURT
11                        CENTRAL DISTRICT OF CALIFORNIA
12
                                WESTERN DIVISION

13   Bryce Abbink, individually and on
14   behalf of all others similarly situated,            Case No. 8:19-cv-01257-JFW-PJW

15                                 Plaintiff,               NOTICE OF MOTION AND
16
                                                            MOTION FOR ALTERNATIVE
     v.                                                     SERVICE UPON LEND TECH
17                                                          LOANS, INC.
18   Experian Information Solutions, Inc.,
     an Ohio corporation, Lend Tech                         Date: September 16, 2019
19   Loans, Inc., a California corporation,                 Time: 1:30 p.m.
20   and Unified Document Services, LLC,                    Judge: Hon. John F. Walter
     a California Limited Liability                         Courtroom: 7A
21   Company,                                               Complaint Filed: June 21, 2019
22                              Defendants.
23
           PLEASE TAKE NOTICE that on Monday, September 16, 2019, at 1:30
24
     p.m., or as soon thereafter as counsel may be heard, counsel for Plaintiff Bryce
25
     Abbink (Plaintiff” or “Abbink”) shall appear before the Honorable John F. Walter
26
     or any judge sitting in his stead in Courtroom 7A of the United States District Court
27
28
                  Notice of Motion and Motion for Alternative Service upon Lend Tech Loans, Inc.
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 1   for the Central District of California, 350 W. 1st Street, Los Angeles, CA 90012,
 2   and present Plaintiff’s Motion for Alternative Service upon Lend Tech Loans, Inc.
 3         The undersigned further states that that compliance with Local Rule 7-3 is
 4   not feasible because Lend Tech Loans, Inc. has not yet appeared in this litigation.
 5         This Motion is based on this Notice and Motion, the attached Memorandum
 6   of Points and Authorities and exhibits, oral argument of counsel, and any other
 7   matter that may be submitted at the hearing.
 8
 9                                                  Respectfully submitted,
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11
     Dated: August 19, 2019                         Bryce Abbink, individually and on behalf of
                                                    all others similarly situated,
12
13                                         By:       /s/ Taylor T. Smith
                                                    One of Plaintiff’s Attorneys
14
15                                                  Aaron D. Aftergood (239853)
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23                                                  Attorneys for Plaintiff and the Classes
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 1                MEMORANDUM OF POINTS AND AUTHORITIES
 2         On June 21, 2019, Plaintiff brought this alleged class action lawsuit alleging
 3   wide-scale violations of the Fair Credit Reporting Act, 15 U.S.C. § 1681, et seq.
 4   (“FCRA” or “Act”). (Dkt. 1.) Plaintiff has successfully served the Complaint on
 5   Experian Information Solutions, Inc. (“Experian”), but he has been unable to serve
 6   Defendant Lend Tech Loans, Inc. (“Lend Tech”).
 7         The California Corporate Code provides for alternative service upon a
 8   corporation by delivering the documents by hand to the Secretary of State when a
 9   Court finds, supported by affidavit, that the registered agent for service cannot be
10   found with reasonable diligence and issues an order stating as such. See Cal. Corp.
11   Code § 1702(a). According to its most recent California Secretary of State business
12   filing, Lend Tech’s registered agent for service of process, Sergio Loza, is located
13   at 1851 E. First St., #810, Santa Ana, California 92705. (See Lend Tech’s Statement
14   of Information, a true and accurate copy of which Ex. A.) On June 21, 2019, this
15   Court issued a summons directed to Lend Tech. (See Dkt. 13.)
16         Plaintiff, via process server, unsuccessfully attempted to serve the summons
17   and a copy of the Complaint on Lend Tech’s registered agent at the above address
18   listed with the Secretary of State. The process server found that neither Lend Tech
19   Loans nor its registered agent was located at the address. (See Affidavits of
20   Reasonable Diligence, true and accurate copies of which are attached hereto as Ex.
21   B.) Thereafter, Plaintiff instructed the process server to attempt service at Lend
22   Tech’s prior business address, 25391 Commercentre Dr., Lake Forest, California
23   92630. On July 8, 2019, the process server informed Plaintiff’s counsel that neither
24   Lend Tech nor its registered agent was located at the Commercentre Dr. address.
25   (See Affidavits of Reasonable Diligence, Ex. B.) Thereafter, Plaintiff’s counsel
26   located the home address for Lend Tech’s president, Sean Cowell, located at 24632
27
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 1   La Plata Dr., Laguna Nigel, California 92677. Plaintiff, via process server, made
 2   three unsuccessful attempts to serve Lend Tech at the Laguna Nigel address. (See
 3   Affidavits of Reasonable Diligence, Ex. B.)
 4         Despite repeated service attempts, Plaintiff has been unable to effectuate
 5   service upon Lend Tech. As detailed above and supported by affidavits, Plaintiff
 6   has made reasonable and diligent attempts to serve Defendant Lend Tech Loans and
 7   has been unable to complete service. Therefore, in accordance with Cal. Corp. Code
 8   § 1702, Plaintiff respectfully requests that the Court issue an order that service may
 9   be made by delivering by hand all documents necessary for serving process upon
10   the California Secretary of State.
11         WHEREFORE, Plaintiff respectfully requests that the Court grant the
12   present motion and issue an order permitting Plaintiff to effectuate service upon
13   Defendant Lend Tech Loans, Inc. by means of service upon California’s Secretary
14   of State, and for such additional relief as the Court deems necessary and just.
15
16                                                  Respectfully submitted,
17
18
     Dated: August 19, 2019                         Bryce Abbink, individually and on behalf of
                                                    all others similarly situated,
19
20                                         By:       /s/ Taylor T. Smith
                                                    One of Plaintiff’s Attorneys
21
22                                                  Taylor T. Smith (admitted pro hac vice)
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25                                                  Facsimile: (303) 927-0809

26                                                  Attorneys for Plaintiff and the Classes

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 1
 2                               CERTIFICATE OF SERVICE
 3         The undersigned hereby certifies that a true and correct copy of the above
 4   titled document was served upon counsel of record by filing such papers via the
 5   Court’s ECF system on August 19, 2019.
 6                                                 /s/ Taylor T. Smith
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